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Attorneys for the Debtor
Star Brite Properties Corp.
at 475 Park Avenue South - 26th Floor
New York, New York 10016
Tel. No. 212-983-1922
Carlos J. Cuevas
Wayne M. Greenwald

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In re                                                       Chapter 11

STAR BRITE PROPERTIES CORP,                                 Case No. 11-40758(CEC)

                       Debtor.
-------------------------------------------------------X

==========================================================
  THIS IS NOT A SOLICITATION OF ACCEPTANCES OF THE PLAN.
  ACCEPTANCES MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT.
     THE ANNEXED DISCLOSURE STATEMENT HAS NOT BEEN
                   APPROVED BY THE COURT.
==========================================================

            DISCLOSURE STATEMENT, PURSUANT TO BANKRUPTCY
           CODE SECTION 1125, FOR STAR BRITE PROPERTIES CORP.’S
                        PLAN OF REORGANIZATION

I. INTRODUCTION

       Star Brite Properties Corp., Debtor and Debtor-in-Possession (“Star Btite” or the

“Debtor), prepared this disclosure statement (the “Disclosure Statement”) pursuant to
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Bankruptcy Code Section 1125,1 in this Bankruptcy Case and in connection with the solicitation

of acceptances or rejections of the Debtor’s Plan of Reorganization, dated July 15, 2011 (the

“Plan”). The Plan was filed with this Court contemporaneously with the Debtor’s Disclosure

Statement on July 20, 2011.

       A complete copy of the Plan is annexed to this Disclosure Statement as Exhibit A.”

       The purpose of this Disclosure Statement is to provide Star Brite’s Creditors and Interest

Holders with adequate information to enable them to make an informed judgment about the

acceptability of the Plan. This Disclosure Statement aims to give Creditors and Interest Holders

sufficient information, as far as it is reasonably practicable for the Debtor to provide, that would

allow a hypothetical reasonable investor typical of the holders of Claims and Interests in the

classes Impaired under the Plan to make an informed judgment about whether to accept or reject

the Plan.

       The provisions of the Plan are binding on all Creditors and Interest Holders, therefore,

please read the Plan and this Disclosure Statement carefully.

       APPROVAL OF THIS DISCLOSURE STATEMENT BY THE COURT DOES

NOT AMOUNT TO A RULING BY THE COURT ON THE FAIRNESS OR MERITS OF

THE PLAN.

       NO STATEMENT, INFORMATION OR REPRESENTATION CONCERNING

THE DEBTOR (PARTICULARLY AS TO ITS FUTURE BUSINESS OPERATIONS,

PROFIT OR FINANCIAL CONDITION) IS AUTHORIZED BY THE DEBTOR OTHER

THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT. ANY

       1
        Capitalized or abbreviated terms contained in this Disclosure Statement
shall have the same meaning as ascribed to them in Article I of the Plan, or
elsewhere therein, unless otherwise defined in this Disclosure Statement.
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REPRESENTATION OR INDUCEMENT MADE TO SECURE ACCEPTANCES OF

THE PLAN WHICH ARE OTHER THAN AS CONTAINED IN THIS DISCLOSURE

STATEMENT SHOULD NOT BE RELIED UPON IN ARRIVING AT A DECISION AND

ANY SUCH ADDITIONAL REPRESENTATION OR INDUCEMENT SHOULD BE

REPORTED TO COUNSEL FOR THE DEBTOR, WHO IN TURN SHALL DELIVER

SUCH INFORMATION TO THE COURT FOR SUCH ACTION AS THE COURT MAY

DEEM APPROPRIATE. THE FINANCIAL INFORMATION CONTAINED HEREIN

HAS NOT BEEN SUBJECT TO AN AUDIT. THE DEBTOR IS UNABLE TO WARRANT

AND REPRESENT THE ACCURACY OF THE INFORMATION CONTAINED HEREIN

ALTHOUGH EVERY EFFORT HAS BEEN MADE TO INSURE ITS ACCURACY.

     THIS DISCLOSURE STATEMENT HAS BEEN APPROVED BY AN ORDER OF

THE COURT, THE HONORABLE CARLA E. CRAIG, UNITED STATES CHIEF

BANKRUPTCY JUDGE. HOWEVER, THE COURT HAS NOT DETERMINED

WHETHER THE PLAN MEETS THE REQUIREMENTS OF THE BANKRUPTCY

CODE FOR CONFIRMATION NOR IS THIS DISCLOSURE STATEMENT OR THE

ORDER APPROVING IT TO BE CONSTRUED AS AN APPROVAL OR EN-

DORSEMENT OF THE FAIRNESS OR MERITS OF THE PLAN BY THE COURT.

     ALL PARTIES ENTITLED TO VOTE ON THE PLAN ARE URGED TO

REVIEW IN FULL THE PLAN AND THIS DISCLOSURE STATEMENT TOGETHER

WITH ALL EXHIBITS ATTACHED THERETO, PRIOR TO VOTING ON THE PLAN,

AND MAY DESIRE TO CONSULT LEGAL COUNSEL PRIOR TO VOTING TO

ENSURE COMPLETE UNDERSTANDING OF THEIR TREATMENT UNDER THE

PLAN. THIS DISCLOSURE STATEMENT IS INTENDED FOR THE SOLE USE OF
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CREDITORS AND INTEREST HOLDERS OF THE DEBTOR TO ENABLE THEM TO

MAKE AN INFORMED DECISION ABOUT THE PLAN.

       EACH CREDITOR AND INTEREST HOLDER IS URGED TO CONSULT ITS

OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO IT UNDER

FEDERAL AND APPLICABLE STATE, LOCAL AND FOREIGN TAX LAWS. THE

DEBTOR MAKES NO WARRANTIES OR REPRESENTATIONS REGARDING THE

TAX IMPACT OF THE PLAN ON ANY CREDITOR OR INTEREST HOLDER.

A. Confirmation Hearing

         The court has scheduled a hearing (the “Hearing”) to consider Confirmation of the Plan

on September          , 2010 at       a.m.., at the United States Bankruptcy Court, Eastern District

of New York, 2701Cadman Plaza East, Courtroom numbered 3529 , Brooklyn, New York

11201.

B. Objections to Confirmation

         Objections to confirmation of the Plan, if any, must be in writing and must identify the

objecting party and the nature of its interest in the Bankruptcy Case and must set forth in detail

the nature and basis of the objection. Objections must be filed with the Clerk of the Court with

the ECF system, with a copy to the Chambers of Chief Judge Craig and served upon the

following no later than September        , 2011 at 5:00 P.M. :

         Carlos J. Cuevas, Esq.
         Cuevas & Greenwald, P.C.
         1250 Central Park Avenue
         Yonkers, New York 10704

         Office of the United States Trustee,
         Hon. Conrad Duberstein United States Courthouse,
         27 1Cadman Plaza East,
          Brooklyn, New York 11201.,
         attn: William Curtin, Esq
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C. Overview of Voting on the Plan

         Holders of Claims and Interests in all Classes are deemed to have accepted the Plan.

Their respective Allowed Claims or Interests are not impaired. Therefore, they are not entitled to

vote under the Plan. In accordance with Bankruptcy Code Section 1123(a), Allowed

Administrative Claims are not being classified under the Plan. The Plan provides that these

Claims are to be paid in full on the distribution date.


D. General Description of Treatment of Claims and Interests

         Set forth in detail elsewhere in this disclosure Statement and in the Plan is a description

of the technical aspects of classification of Claims and Existing Interests, the Distributions and

treatment afforded to Holder of such claims and Interest Holders upon the occurrence of the

Effective Date and the consequences of the proposed Reorganization of the Debtor. THE

FOLLOWING IS A BRIEF SUMMARY OF THE TREATMENT AFFORDED TO CLAIMS

AND CLASSES BY THE PLAN. THIS SUMMARY IS PROVIDED FOR CONVENIENCE

PURPOSES ONLY AND IS ABSOLUTELY QUALIFIED IN ITS ENTIRETY BY

REFERENCE TO THE FULL TEXT OF THE PLAN. YOU ARE URGED TO CONSULT

THE ACTUAL TEXT OF THE PLAN TO DETERMINED THE TREATMENT GIVEN TO

THE CLASS WHICH ENCOMPASSES YOUR TYPE OF CLAIM OR INTEREST.



Class                   Description                            Distribution

No Class                Allowed Administrative Claims          Paid in full in cash on the Effective
                                                               Date or entry of an order, if required,
                                                               or as otherwise agreed to between
                                                               the Debtor and the holder of such
                                                               Claim.
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Class 1                 Secured Claims                          AIA Capital, LLC’s Allowed
                                                                Secured Claim on the earlier of
                                                                Effective Date of the Plan or the
                                                                closing of the Debtor refinancing its
                                                                Property

Class 2                 Priority Tax Claims                     The holders of Allowed Priority Tax
                                                                Claims shall be paid in full on the
                                                                Effective Date.

Class 3                 General Unsecured Claims                The holders of Allowed Unsecured
                                                                Claims shall receive a 100%
                                                                distribution on the Effective Date of
                                                                the Plan.

Class 4                 Equity Security Holders                 Will retain their equity security
                                                                interests in the Debtor under the
                                                                Plan.


          Allowed Administrative Claims are comprised of the claim of Cuevas & Greenwald,

P.C., counsel to the Debtor and Debtor-in-Possession and Eisner, LLP, accounts to the Debtor.

Cuevas & Greenwald, P.C. expects to apply for total compensation of approximately $200,000

   with expenses of approximately         Eisner, LLP, expects to apply for total compensation of

approximately           with expenses of approximately      .



E. Plan Alternatives

          The Debtor believes that the Plan provides the best structure and means for the

distribution of the proceeds of the sale or refinancing of the Debtor’s assets. Given the size of

the Estate, the Plan provides the most expeditious and efficient means of paying the creditors.

A Chapter 7 case could reduce the payment to unsecured creditors because of the administrative

costs. It would also delay the payment to Creditors for their Allowed Claims.
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II. EVENTS PRECEDING THE FILING

A. History of the Debtor

       Star Brite was formed in 2005. Star Brite’s sole asset is the real estate located at 626

Flatbush Avenue, Brooklyn, New York (the “Property”). The Property is a commercial building

with 30,000 square feet. The Property consists of five units. Its monthly rent roll is $49,000.

       During 2010, the Debtor sought to refinance the Property in order to renovate the

building. First American International Bank (“First American”), the mortgagee, told the Debtor

not to make mortgage payments, but instead, to use the funds to pay for the renovations. The

amounts due under the mortgage would be paid under a new promissory note when the Property

was refinanced by First American. The mortgage on the Property was subsequently assigned to

AIA Capital, LLC (“AIA”). AIA subsequently commenced a foreclosure proceeding in New

York State Supreme Court.



III. DESCRIPTION OF THE AVAILABLE ASSETS AND THEIR VALUE
     DESCRIPTION OF THE LIABILITIES

       The following is a description of the Debtor’s available assets and their value:

The Debtor’s accounts receivable are as follows:

        Real Property-$4,500,000.00

        Cash-$50,000.00

       Equipment-$

       Accounts receivable pre-petition       $

       Accounts receivable post-petition      $



       The liabilities of the Debtor are as follows:
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       1) Secured Claims- $2,700,000.00 (disputed)

       2) Priority tax claim-$59,000.00 (disputed)

       2) General Unsecured Claims-$20,000.00 (disputed)

       Total Liabilities             $3,490,000



IV. ANTICIPATED FUTURE OF THE COMPANY

       The Debtor shall continue to operate the Property.



V. SOURCE OF INFORMATION CONTINED IN THIS STATEMENT

       The sources of information in this statement are Mr. William Cordero, the Debtor’s

President and the Debtor’s books and records.



VI. DEBTOR’S OPERATIONS IN CHAPTER 11

       The Debtor operated its business in the ordinary course during this case.

       Also during this case, the Debtor had extensive negotiations with AIA to resolve the

Debtor’s issues over the existence and amount of AIA’s Claim. The Debtor and AIA achieved

an agreement in principal which is being finalized.

       Critical to the Debtor’s reorganization is securing refinancing for its Property. The

Debtor interviewed several potential funders for a refinancing. The Debtor is finalizing its

decision. It expects to have a firm commitment, sufficient to fund the Plan, well before the

Confirmation Date.
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VII. LIQUIDATION ANALYSIS

       Based on the assets and liabilities discussed above, the Debtor estimates that there is

approximately $1,500,000 in the Debtor’s assets.



VIII. ACCOUNTING METHOD USED TO PRODUCE THE FINANCIAL DATA

       Cash method of accounting.



IX. THE FUTURE MANAGEMENT OF THE COMPANY

        The Debtor’s management will continue to operate the Debtor after confirmation of the

plan of reorganization. William Cordero, the Debtor’s president, shall remain the Debtor’s chief

executive officer.



X. ESTIMATED ADMINISTRATIVE EXPENSES

       Cuevas & Greenwald, P.C., the Debtor’s bankruptcy counsel expects to apply for total

compensation of approximately $200,000.00 with expenses of approximately $                        .

Eisener. LLP, the Debtor’s accountants counsel expects to apply for total compensation of

approximately $       with expenses of approximately $                  .



XI. U.S. TRUSTEE FEES

       The Debtor is current with the fees due to the Office of the United States Trustee under

28 U.S.C. § 1930. The U.S. Trustee’s fees will continue to be due and payable until a Final

Decree is entered or the case is dismissed or converted, whichever is earlier. After confirmation

of the Plan of Reorganization, the Litigation Trust will be responsible for the payment of U.S.
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Trustee fees.



XIII. AMOUNT REALIZABLE FROM PREFERENCE AND FRAUDULENT
      CONVEYANCES

       The Debtor’s counsel examined the Debtor’s financial history and determined that there

are no voidable preferences or fraudulent conveyances.



XIV. LITIGATION LIKELY TO ARISE IN A NON-BANKRUPTCY CONTEXT

       The Debtor does not anticipate any litigation to arise in a non-bankruptcy context.



XV. THE TAX ATTRIBUTES OF THE DEBTOR

       The Debtor does not have a loss-carry forward. The Dehbtor does not

expect the Plan or its consummation to have any negative tax consequences.



XVI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       The Debtor will assume all of its executory contracts and unexpired leases.



XVII. THE PLAN OF REORGANIZATION

       THE FOLLOWING IS A SUMMARY OF THE PROVISIONS OF THE PLAN

AND, ACCORDINGLY, IS NOT AS COMPLETE AS THE FULL TEXT OF THE PLAN

THAT ACCOMPANIES THIS DISCLOSURE STATEMENT. THE PLAN ITSELF

SHOULD BE READ IN ITS ENTIRETY. IN THE EVENT OF ANY INCONSISTENCIES

BETWEEN THE DESCRIPTION OF THE PLAN CONTAINED IN THIS DISCLOSURE

STATEMENT AND THE PLAN ITSELF, THE PROVISIONS OF THE PLAN SHALL
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CONTROL.

        A. General

        The Debtor believes that under the circumstances, the Plan provides for the best possible

recovery to and a fair treatment in accordance with the provisions of and restrictions imposed by

the Bankruptcy Code of each Class of Claims or Interests. The Plan contains different articles

detailing definitions, classification, treatment of Claims and Existing Equity Interests, means of

implementation and other miscellaneous provisions that will, if the Plan is confirmed after

appropriate notice and a hearing, be binding on the Debtor, any Entity acquiring property under

the Plan and all Creditors and Existing Interests Holders. If confirmed, the Plan will be binding

whether or not a Claim or Interest is impaired under the Plan and whether or not a Creditor or

Interest Holder has accepted the Plan.

        Solicitation of Acceptance of the Plan. This Disclosure Statement was conditionally

approved by the Bankruptcy Court in accordance with section 1125 of the Bankruptcy Code (11

U.S.C. § 1125) and has been provided to all Creditors and Interest Holders in this Case. This

Disclosure Statement is intended to assist Creditors and Interest Holders with their evaluation of

the Plan and their decision to accept or reject the Plan. Your acceptance of the Plan may not be

solicited unless you receive a copy of this Disclosure Statement at the time of, or before, such

solicitation.

          Votes Considered in Determining Acceptance of the Plan. All the creditors and

interest holders are unimpaired under the Plan. Therefore, all the creditors are deemed to have

accepted the Plan, and are not entitled to vote.

           Hearing on Confirmation of the Plan. The Bankruptcy Court has set a hearing to

determine if the Plan has been accepted by the required number of holders of Claims and
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Interests and if other requirements for Confirmation of the Plan outlined in the Bankruptcy Code

have been satisfied. The hearing on Confirmation of the Plan shall commence on September __,

2011, at the United States Bankruptcy Court, located at the Hon. Conrad Duberstein United

States Courthouse, 271 Cadman Plaza East, Brooklyn, New York. Any objections to

confirmation of the Plan must be in writing and must be filed with the Clerk of the Bankruptcy

Court and served on counsel for the Debtor on or before three days prior to the Confirmation

Hearing.

        B. Underlying and Summary of Plan Provisions

       The Plan is a 100% plan. The source of the funds or the procedures to satisfy Claims and

Existing Interests are set forth more fully below. The following sections describe in detail why

the Plan is feasible and where and how the Debtor will obtain the proceeds to make the payments

or provide the treatment and to assume the obligations set forth in the Plan.

       Article I of the Plan contains a series of definitions that are applicable to both the Plan

and this Disclosure Statement. Readers are referred to the text of Article I of the Plan for a

description of each defined term.

       Article II of the Plan describes the classification of Claims and Interests. The Plan

classifies Claims and Interests separately in accordance with the Bankruptcy Code and provides

different treatment to different Classes. The Plan provides for three (3) separate Classes of

Claims and one (1) Class of Interests each of which is accorded the treatment proposed for such

Class or group under the Plan. Payments, Distributions and treatment provided under the Plan

to, or for the benefit of, all Creditors and will be in full satisfaction and discharge of Claims and

Interests, as more particularly explained in other Articles of the Plan.

       Pursuant to section 1141 of the Bankruptcy Code, upon Confirmation of the Plan and
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achievement of the Effective Date, and except as otherwise provided for in the Plan, the Debtor

will be discharged from all Claims and Interests that have arisen before Confirmation of the

Plan.

         C. Summary of Treatment of Unclassified Claims

         1. Allowed Administrative Claims

         Allowed Administrative Claims are Claims against the Debtor and the Estate for

administrative expenses (normally expenses accruing during the Bankruptcy Case) referred to in

and allowed under sections 503(b) and 507(a)(1) of the Bankruptcy Code including, but not

limited to, actual and necessary costs and expenses of preserving the Estate. Administrative

Claims include, by way of example only, wages, salaries, or commissions for services rendered

after the Relief Date, compensation and reimbursement of expenses awarded by Final Order of

the Bankruptcy Court to Professional Persons, and costs associated with solicitation of

acceptances and rejections of the Plan.

         Administrative Claims representing liabilities incurred in the ordinary course of the

Debtor's business are being paid in due course during the Bankruptcy Case, or will be paid

thereafter, when same become owing pursuant to their terms. To the extent any such liabilities

remain unpaid and are due pursuant to terms as of the Effective Date, they will be paid by the

Debtor Post-Effective Date pursuant to and in accordance with ordinary business terms.

         Claims for unpaid compensation and reimbursement of expenses to Professional Persons

will be paid in Cash on the Effective Date, subject to same having been allowed and approved by

the Bankruptcy Court, unless the Debtor and the holders of such Allowed Claims agree to other

payment terms.

         D. Summary of Treatment of Classes of Claims and Interests
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       Allowed Secured Claim of AIA Capital, LLC (Class 1). The Allowed Secured Claim

of AIA Capital, LLC will be paid on the earlier of Effective Date of the Plan or the closing of the

Debtor refinancing its Property

       Allowed Priority Tax Claims (Class 2) The Allowed Priority Tax Claims will be paid

on the effective date of the Plan.

       Allowed Unsecured Claims (Class 3). The Allowed Unsecured Claims will be paid on

the effective date of the Plan.

       Interests of Equity Security Holders (Class 4). The equity security holder will retain

his interest under the Plan.

       E. Summary Description Plan Concerning Rejection And Assumption Of Executory
          Contracts

       The Plan provides for the assumption of all of the Debtor’s unexpired executory

contracts or leases.

       F. Summary Description Of Plan With Regard To Provisions Concerning
          Distribution

       The Plan provides that payments and Distributions to be made by the Debtor on the

Effective Date shall be made on that date, or in certain instances within a reasonable period

thereafter, except as is otherwise ordered by the Court or agreed to by the Debtor and a Creditor.

If any payment or Distribution shall be due on a day other than a Business Day, the payment or

Distribution shall be made on the next Business Day. At the election of the Debtor, Distributions

to be made in Cash shall be made by check drawn on a domestic bank or by a wire transfer from

a domestic bank. No payments of fractional cents shall be made. In the event any Entity fails to

claim the distribution within one hundred and eighty (180) days from the date of such

Distribution, then such payment shall be deemed Unclaimed Property. In such event, the
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unclaimed monies shall be placed back into the Debtor's Confirmation Fund and redistributed to

the creditor body.

         After the initial distribution made pursuant to the Plan of Reorganization by the debtor,

any funds collected by the Litigation Trust will be distributed by the Litigation Trust to the

general unsecured creditors.

         G. Summary Description Of Plan Concerning Discharge and Injunctions

         The Plan provides specific provisions regarding discharge of Claims and Interests,

releases and terminations. All Creditors, Interest Holders and parties in interest should refer

specifically to the Plan with regard to provisions concerning discharge of Claims and interests

vesting of property in the Debtor, injunctions, releases, effect on certain Claims and Interests and

certain terminations. If Confirmation of the Plan does not occur, the Plan shall be deemed null

and void and, in such event, nothing contained in the Plan shall be deemed to constitute a waiver

or release of any Claims by or against the Debtor, the rights of Existing Interests Holders, or any

other Entity or to prejudice in a manner the rights of the Debtor or any Entity in any further

proceedings involving the Debtor. Nothing contained herein or in the Plan is nor shall such be

deemed an admission of any fact by the Debtor. Only the Plan, when confirmed, will govern the

rights and liabilities as between and among the Debtor, and any Creditor, Interest Holder or

party-in-interest or such other Person or Entity whose rights are affected by the Plan.

         H. Summary Description Of Provisions Regarding Procedures For Resolving
          Disputed Claims

         Claim Objections. The Plan grants the Debtor the right to serve and file objections to

the allowance, amount or classification of any Claim or Interest not later than forty-five (45)

days subsequent to the Confirmation Date or within such other time as may be fixed by the

Court.
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       Payment of Disputed Claims. In the event that any payment or Distribution must be

made to a holder of a Disputed Claim which become an Allowed Claim, the treatment or

Distribution shall be made in accordance with the provisions of the Plan with respect to the Class

of Creditors to which the respective Holder of such Claim belongs.

       I. Summary Description Of Plan Provisions Regarding Retention of Jurisdiction

       The Plan provides that the Court shall retain jurisdiction of the Bankruptcy Case

following Confirmation of the Plan for a wide range of matters and issues and for various

purposes, including interpretation of the Plan, resolution of disputes concerning orders of the

Court, pending litigation, Professional Persons compensation issues, determination of disputes

and issues regarding property and rights of the Debtor and Reorganized Gujarat Times, Inc. All

Claimants, Interest Holders and parties-in-interest should refer specifically to the Plan for a full

and complete statement of the various matters in which the Bankruptcy Court shall, under the

terms of the Plan, retain jurisdiction.

       J. Summary Description Of Plan Provisions Regarding Retention Of Assets And
          Title To Property

       The Plan that upon Confirmation of the Plan of Reorganization that title to the Property

of the Estate shall vest in the Debtor.

       K. Disbursing Agent

       All Distributions pursuant to the Plan will be made when due, in accordance with the

Plan, by the Debtor acting as its own Disbursing Agent and the Debtor shall establish such

accounts or funds which will be held in trust for the Creditors entitled to distribution, which shall

not constitute property of the Estate.

       L. Summary Description Of General Provisions Of The Plan

       Under the Plan, the Debtor reserves the right, in accordance with the Bankruptcy Code,
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to amend or modify the Plan. The Plan also prescribes certain rules pertaining to notice to the

Debtor, as well as notice to all other Entities post-Confirmation. The Plan shall, except to the

extent governed by the Bankruptcy Code or applicable federal law, be governed, construed and

enforced in accordance with the laws of the State of New York.



       XVIII. PLAN FUNDING AND MEANS FOR EXECUTION OF THE PLAN

       The Plan is to be implemented in a manner consistent with section 1123 of the

Bankruptcy Code, which essentially sets forth the minimum requirements and elements that a

plan of Reorganization must contain in order to meet the standards for Confirmation.

       A. Funding

       The Plan will be funded from the proceeds of a new mortgage on the Property.

       B. Vesting Of Interests And Title

       As of the Effective Date, the Debtor shall retain all legal title to its property to which it

has good title as of the Relief Date, including all leasehold interests being assumed under Article

X of the Plan or to which it received title during the Bankruptcy Case. All Assets possessed by

or titled to the Debtor or the Estate will vest in the Debtor free and clear of all Claims and

Existing Equity Interests, except as may be provided for in the Plan.



       XIX. ALTERNATIVES TO THE PLAN

       A potential alternative to the Plan would be conversion of the Bankruptcy Case to

Chapter 7 liquidation or liquidation within Chapter 11 through a liquidating plan. It is unlikely

that there will be no distribution to the unsecured creditors in a Chapter 7 case. Because of the

increased administrative costs. Dismissal of the Bankruptcy Case is another alternative to the
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Plan. However, the consequences of such a course would be little different then the results of

conversion to Chapter 7 or liquidation in Chapter 11.

       Essentially, the Debtor believes that there is no viable better alternative to the Plan.

Any alternative would be significantly prejudicial to all Creditors and parties-in-interest.

       For all of the above reasons, the Debtor believe that the Plan meets the best interest

of creditors test. The Debtor is soliciting your vote in favor of the Plan.


Dated: New York, New York
       July 20, 2011


                                                          STAR BRITE PROPERTIES CORP.


                                                          By:
                                                                William Cordero, President



                                                        CUEVAS & GREENWALD, P.C.
                                                        Attorney for Star Brite Properties Corp.
                                                        Debtor and Debtor-in-Possession


                                                        By: /s/ Wayne M. Greenwald Officer
                                                                Wayne M. Greenwald
                                                         at 475 Park Avenue South - 26th Floor
                                                         Yonkers, New York 10016
                                                         Tel. No. 212-983-1922
